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     Counsel for Defendant Dfinity USA Research, LLC
16

17                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
18

19   DANIEL VALENTI, Individually and On Behalf        Case No.: 3:21-cv-06118-JD
     of All Others Similarly Situated,
20                                                     STIPULATION AND [PROPOSED]
                                Plaintiff,             ORDER TO VACATE INITIAL
21                                                     CASE MANAGEMENT
               v.                                      CONFERENCE, RESET ALL
22                                                     RELATED DEADLINES AND
23   DFINITY USA RESEARCH LLC, DFINITY                 EXTEND TIME TO ANSWER OR
     FOUNDATION and DOMINIC WILLIAMS,                  OTHERWISE RESPOND TO THE
24                                                     COMPLAINT
                                Defendants.
25

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      STIP AND [PROPOSED] ORDER TO VACATE INITIAL CMC, RESET ALL RELATED DEADLINES AND
                           EXTEND TIME TO RESPOND TO THE COMPLAINT
                                    CASE NO. 3:21-CV-06118-JD
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 1          Plaintiff Daniel Valenti, individually and on behalf of all others similarly situated,

 2   (“Plaintiff”), by and through his undersigned counsel, and Defendant Dfinity USA Research, LLC,

 3   by and through its undersigned counsel, hereby stipulate and agree as follows.

 4          WHEREAS, on August 9, 2021, Plaintiff filed a class action complaint for violations of

 5   the federal securities laws styled Valenti v. Dfinity USA Research LLC et al.,

 6   No. 3:21-cv-06118-JD (Dkt. No. 1) (the “Complaint”);

 7          WHEREAS, on August 10, 2021, this Court issued an initial case management scheduling

 8   order, which set the date for an initial case management conference for November 18, 2021, and

 9   set other scheduling and Alternative Dispute Resolution (“ADR”) deadlines (Dkt. No. 6);

10          WHEREAS, on August 11, 2021, counsel for Plaintiff published a notice of pendency of

11   the above-captioned action pursuant to the Private Securities Litigation Reform Act of 1995

12   (“PSLRA”), 15 U.S.C. § 78u-4(a)(3)(A) (Dkt. Nos. 8, 8-1);

13          WHEREAS, on September 3, 2021, Plaintiff served a summons and complaint on

14   Defendant Dfinity USA Research, LLC (Dkt. No. 9);

15          WHEREAS, the other Defendants in the above-captioned action have not yet been served;

16          WHEREAS, under Rule 12 of the Federal Rules of Civil Procedure, Dfinity USA Research,

17   LLC is required to answer or otherwise respond to Plaintiff’s Complaint on or before

18   September 24, 2021;

19          WHEREAS, under section 78u-4(a)(3)(A)(i)(II) of the PSLRA the deadline to file a motion

20   to appoint lead plaintiff and to appoint lead counsel is October 12, 2021;

21          WHEREAS, the parties agree that, in light of the deadline to file a motion to appoint lead

22   plaintiff and lead counsel, and in the interest of judicial economy and preservation of the Court’s

23   and the parties’ resources, Defendant Dfinity USA Research, LLC need not respond to the pending

24   Complaint;

25          WHEREAS, under Civil Local Rule 6-1(a), the parties may stipulate in writing, without a

26   Court order, to extend the time within which to answer or otherwise respond to the Complaint

27   provided that the change will not alter the date of any event or any deadline already fixed by Court

28   order; and
                                                      2
       STIP AND [PROPOSED] ORDER TO VACATE INITIAL CMC, RESET ALL RELATED DEADLINES AND
                            EXTEND TIME TO RESPOND TO THE COMPLAINT
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 1          WHEREAS the Court has not issued any order setting the time within which Defendants

 2   must answer or otherwise respond to the Complaint.

 3          NOW THEREFORE, subject to the approval of the Court, the parties hereby STIPULATE

 4   and AGREE as follows, through their undersigned counsel:

 5          1.      Defendant Dfinity USA Research, LLC shall not be required to, and shall not waive

 6   any rights, arguments, or defenses by not answering, moving against, or otherwise responding to

 7   the pending Complaint in the action styled Valenti v. Dfinity USA Research LLC et al., No. 3:21-

 8   cv-06118-JD.

 9          2.      Upon appointment of a lead plaintiff and lead counsel, the parties shall meet and

10   confer to set a schedule for the filing by such lead plaintiff of a consolidated complaint and any

11   response.

12          3.      The    Initial   Case   Management      Conference    currently   scheduled     for

13   November 18, 2021, along with any associated deadlines under the Federal Rules of Civil

14   Procedure and Local Rules (including ADR deadlines), shall be vacated and reset after

15   appointment of lead plaintiff and lead counsel.

16          IT IS SO STIPULATED.

17   Respectfully Submitted,

18    Dated:         September 23, 2021          QUINN EMANUEL URQUHART & SULLIVAN
                                                 LLP
19

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27                                               Counsel for Defendant Dfinity USA Research, LLC

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                                                       3
       STIP AND [PROPOSED] ORDER TO VACATE INITIAL CMC, RESET ALL RELATED DEADLINES AND
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 2                                                  /s/ Kevin J. Orsini
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10                                                  Counsel for Defendant Dfinity USA Research, LLC

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                                                    /s/ Kyle W. Roche
13                                                  Kyle W. Roche (pro hac vice forthcoming)
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22                                                  Counsel for Plaintiff, Daniel Valenti

23
                                   ORDER
24                                                                     ISTRIC
                                                                  TES D      TC
       Pursuant to stipulation, it is so ordered.
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26   Dated: October 4, 2021                                                       DERED
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                                    CASE NO. 3:21-CV-06118-JD R
